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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                  Alexandria Division

RICARDO R. GARCIA, et al.,   )
                             )
       Plaintiffs,           )
                             )
v.                           )                    Civil Action No. 1:19cv331-LO-MSN
                             )
VOLKSWAGEN GROUP OF AMERICA, )
INC. et al.,                 )
                             )
       Defendants.           )
                             )

                            WAIVER OF ORAL ARUGMENT

       Please take notice that Defendant Volkswagen Aktiengesellschaft hereby waives oral

argument on its Consent Motion for Extension of Time to File Reply (Doc. 66).

Dated: November 27, 2019                   Respectfully submitted,

                                           /s/ Frank Talbott V
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on November 27, 2019, I electronically filed the foregoing with the

Clerk of Court using the Court’s CM/ECF filing system which will send notification of

electronic filing (NEF) to all counsel of record.


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